                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria Division


UNITED STATES OF AMERICA,                     )
                                              )      No. 1:19-cr-59
      v.                                      )
                                              )      Hon. Liam O’Grady
DANIEL EVERETTE HALE,                         )
                                              )
                   Defendant.                 )


                   MOTION TO DISMISS THE INDICTMENT

      This case presents issues at the core of the First Amendment. Mr. Hale is

being criminally prosecuted for, allegedly, assisting a journalist to publish

information critical of our government that had been shielded from the public by

official secrecy. Whatever the constitutional merits of such a prosecution – and those

are addressed in this Motion – it is indisputable that this prosecution treads closely

to freedoms that are essential to a free and democratic society.

      The freedoms of speech and the press are enshrined in the most unambiguous

language in the Constitution, which provides that “Congress shall make no law”

abridging either. U.S. Const. amend. I. These freedoms require no less protection in

the national security context than elsewhere, because “[t]he First Amendment

interest in informed popular debate does not simply vanish at the invocation of the

words ‘national security.’” United States v. Morison, 844 F.2d 1057, 1081 (4th Cir.

1988) (Wilkinson, J., concurring).
                                INTRODUCTION

      The Espionage Act was written a century ago, before modern First Amendment

jurisprudence existed. It is abundantly clear from the history of the Act that it was

written with confidence that it would never be used to criminalize actions undertaken

to inform the American public. In recent years, however, it has morphed into a

government-secrecy law used regularly for that very purpose.        And that is the

problem: While Congress surely has the power to criminalize the possession and

communication of information on national security grounds – and that is what the

Act does: criminalize the possession and communication of information – the First

Amendment requires that power to be exercised with precision. Congress must

narrowly tailor laws to achieve compelling government interests while infringing as

little as possible on freedoms that form the bedrock of democracy. But the Espionage

Act – which comprises Chapter 37 of Title 18 of the United States Code (aptly named

“Espionage and Censorship”) – was not written with such precision in mind.

      As the seminal scholarly article on the Espionage Act explains, the law was

enacted just after the United States entered World War I, and “not drafted to

reconcile the competing demands of national security and public debate about

matters of prime political importance.” Harold Edgar & Benno C. Schmidt, Jr., The

Espionage Statutes and Publication of Defense Information, 73 Colum. L. Rev. 929,

934 (1973) (“Edgar & Schmidt”).      Moreover, the Act’s language is muddy and

imprecise, and “in many respects incomprehensible.” Id. On its face, for example,

the Act criminalizes conduct that is unambiguously protected by the First



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Amendment, such as a journalist’s publication of information of vital public concern

that presents no proximate or substantial danger of harming national security. See,

e.g., 18 U.S.C. § 793(e) (criminalizing the communication of national defense

information by a person not entitled to have it). Yet, to this day, nobody knows if or

to what extent journalists may be prosecuted for fulfilling their constitutionally-

protected role of informing the public. See Morison, 844 F.2d at 1081 (members of

the press “are not being, and probably could not be, prosecuted under the espionage

statute”) (Wilkinson, J., concurring) (emphasis added). 1    That is important here

because, under the First Amendment overbreadth doctrine, statutes that have a

substantial chilling effect on protected rights are void even if the offense before the

Court could be prosecuted without offending the First Amendment.

      Adding to the uncertainty, no court has ever decided whether or to what extent

First Amendment protections exist under the Espionage Act. That is because the

Executive Branch brought no prosecutions even touching on press freedoms – no

attempts to prosecute either journalists who publish defense information or those

who undertake the necessary acts for such journalism to occur – until recent decades.

And only in the last decade have such prosecutions become commonplace, with

prosecutions of “leakers” occurring regularly, and the first prosecution of a purported

journalist under the Espionage Act now pending. Further adding to the confusion,



1     Contrary to Judge Wilkinson’s supposition in Morison, numerous Justices in
the Pentagon Papers litigation commented in dicta that journalists probably could
be prosecuted under the Espionage Act, at least in certain circumstances. See New
York Times Co. v. United States, 403 U.S. 713, 737-38, 752, 759 (1971).

                                          -3-
the government’s conduct and public statements long suggested that publication of

information by the press was beyond the reach of the statute, but it clearly no longer

holds that view: At least one count in the Indictment in this case requires this Court

to decide whether the act of publication by a journalist is criminal under the

Espionage Act.     Specifically, Count One charges that Mr. Hale obtained the

information with reason to believe that another person – presumably the reporter

with whom he allegedly shared it – would possess or communicate the information in

violation of the Espionage Act. If that is the government’s theory, it will require this

Court to instruct a jury that a journalist’s possession or publication of defense

information is a crime.

      In addition to the Espionage Act’s facial overbreadth in exposing protected

press activities to prosecution, the Act is also vague and overbroad with respect to

the type of information it covers: Does the information disclosed genuinely endanger

lives while adding little or no value to public discourse? Or does it – as in the case of

the Pentagon Papers and here – risk only an alleged and inchoate harm to national

security while providing the factual basis for award-winning journalism on matters

the government has obscured from public view? The legislative history shows that

such questions plainly concerned the Act’s drafters. But the statute they enacted

does not even begin to answer them – because, history shows, they all thought it

incomprehensible that the Act could or would ever be applied to anyone but spies and

saboteurs (i.e., those who acted with an unambiguously anti-American animus). As

a result, the provisions of the Act at issue here do not require proof of nefarious intent



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or proof that the information disclosed actually risked any substantial harm. Without

such an element, the vagueness of the Act’s language provides no mechanism to

assure that the law actually addresses a compelling government interest with

sufficient precision to permit a First Amendment prohibition.

      The core evil occasioned by the Espionage Act’s imprecise language and

ambiguous reach is a chilling effect on constitutionally protected speech and press

activity. If the First Amendment stands for anything, it must protect a journalist

who publishes “secret” information critical of the government where the disclosure is

important to public discourse and presents at most a low risk of minimal harm to

national security. But the facial breadth and vague terms of the Espionage Act, even

aided by a century of judicial interpretation, leave a journalist who publishes such

information to wonder if he or she may be imprisoned. Such chilling is inimical to a

healthy democracy. Indeed, James Madison, the chief drafter of the Constitution and

Bill of Rights, described press freedom in existential terms: “A popular Government,

without popular information, or a means of acquiring it, is but a Prologue to a Farce

or a Tragedy; or, perhaps both.” 9 James Madison, Writings of James Madison 103

(Gaillard Hunt ed. 1910).     Echoing Madison’s warning, the Supreme Court was

equally vivid in its concern a century and a half later:

             [The] concept of ‘national defense’ cannot be deemed an end
             in itself, justifying any exercise of legislative power
             designed to promote such a goal. Implicit in the term
             ‘national defense’ is the notion of defending those values
             and ideals which set this Nation apart. For almost two
             centuries, our country has taken singular pride in the
             democratic ideals enshrined in its Constitution, and the
             most cherished of those ideals have found expression in the

                                          -5-
             First Amendment. It would indeed be ironic if, in the name
             of national defense, we would sanction the subversion of
             one of those liberties . . . which makes the defense of the
             Nation worthwhile.

United States v. Robel, 389 U.S. 258, 264 (1967) (invalidating provision of national

security statute on overbreadth grounds where it criminalized activity properly

subject to regulation and activity protected by the First Amendment). 2

      All five charges in this case suffer from the same fatal defect recognized in

Robel: even in the national security context, Congress must legislate within “the

bounds imposed by the Constitution when First Amendment rights are at stake.” Id.

at 267. With respect to each of the charges in this case, it did not. Because the

statutory provisions underlying each charge impermissibly chill protected First

Amendment freedoms, they are facially invalid.

                FACTUAL AND PROCEDURAL BACKGROUND

      Daniel Hale is charged in a five-count Superseding Indictment with: i)

obtaining national defense information (“NDI”) in violation of 18 U.S.C. § 793(c); ii)

retention and transmission of NDI in violation of 18 U.S.C. § 793(e); iii) causing the

communication of NDI in violation of 18 U.S.C. § 793(e); iv) disclosure of classified

communication intelligence information in violation of 18 U.S.C. § 798(a)(3); and v)

theft of government property having a value exceeding $1000 (i.e., the NDI and

classified information at issue in the other counts) in violation of 18 U.S.C. § 641.


2      See also Potter Stewart, Or of the Press, 26 Hastings L.J. 631, 634 (1975)
(“The primary purpose of the constitutional guarantee of a free press was . . . to
create a fourth institution outside the Government as an additional check on the
three official branches.”)

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      According to the Indictment, the allegations against Mr. Hale arise from his

enlistment in the United States Air Force and subsequent employment in the United

States Intelligence Community as a contractor with the National Geospatial-

Intelligence Agency (NGA). Specifically, while employed as a contractor in 2013, Mr.

Hale is alleged to have identified a reporter (referred to in the Indictment as “the

Reporter,” and commonly believed in media accounts to be Jeremy Scahill) who

wanted Mr. Hale to “tell [his] story about working with drones.”           Superseding

Indictment ¶ 13. Subsequently, from 2013 through 2014, Mr. Hale is alleged to have

met with the reporter in person, and communicated with him or her by email, text

message and instant messaging. Then, between February and August of 2014, Mr.

Hale is alleged to have printed from his NGA computer 23 documents (15 of which

the Indictment describes as classified). Id. ¶ 32. Later, between August 2014 and

December 2016, the reporter is alleged to have published 17 of those documents,

including 11 alleged to be classified. Id. ¶ 33. Specifically, the reporter is alleged to

have published them on what the Indictment refers to as the Reporter’s Online News

Outlet (commonly believed in media accounts to be The Intercept).

      In 2016, Jeremy Scahill and The Intercept won the University of Florida Award

for Investigative Data Journalism (small/medium newsroom category) for publishing

The Drone Papers. 3     That publication, in turn, led to calls for Congressional

investigation and reform of the drone program due to allegations that the Obama



3     See https://awards.journalists.org/winners/2016/.       The Drone Papers is
available at https://theintercept.com/drone-papers/ (last accessed Sep. 8, 2019).

                                           -7-
administration misled the public by describing the program as highly selective and

precise while hiding the fact it had resulted in a large number of indiscriminate

killings. See, e.g., Micah Zenko, The Intercept’s ‘Drone Papers’ Revelations Mandate

a Congressional Investigation, Foreign Policy (Oct. 15, 2015). 4

      The Indictment alleges that, at the time of the events in question, Mr. Hale

had reason to believe that the unauthorized disclosure of any of the documents

alleged in the Indictment to be marked Secret or Top Secret could be expected to

cause serious damage (in the case of Secret information), or exceptionally grave

damage (in the case of Top Secret information), to the national security of the United

States. See Indictment ¶ 4. The Indictment does not allege that any damage to

national security has ever resulted from Mr. Hale’s alleged conduct. 5




4     Available at https://foreignpolicy.com/2015/10/15/the-intercepts-drone-papers-
revelations-mandate-a-congressional-investigation/ (last accessed Sep. 7, 2019).
5      One could question whether the phrase “exceptionally grave damage”
constitutes proper usage, as Colonel Jessup in the movie A Few Good Men (1992)
questioned the phrase “grave danger” (“Is there any other kind?”). But that is the
language of the Executive Order governing classification. See Exec. Order No.
13526, 75 Fed. Reg. 1013 (Dec. 29, 2009). The Order leaves open the question of the
appropriate classification for information which, if disclosed, might cause “grave,”
but not “exceptionally grave,” damage to national security. In any event, despite
that numerous documents at issue here are alleged to have been Top Secret –
meaning their disclosure could be expected to cause the gravest of damage to
national security (as opposed to ordinarily grave damage, which is presumably very
serious) – it is odd that no actual damage to national security has been identified in
the four to five years since the Indictment alleges they were published.

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                    STRUCTURE OF THE ESPIONAGE ACT

       The Espionage Act, codified at 18 U.S.C. §§ 793-798, was enacted in June

1917, 6 two months after the United States’ entry into World War I. In the century

since, the two main provisions of the Act, now codified at §§ 793 & 794, “have

remained almost unchanged,” though they were amended in 1950 to include the

present § 793(e) (charged here in Counts Two and Three). Edgar & Schmidt, 73

Colum. L. Rev. at 939, 942. The latter provision, § 794, is not implicated here. It

represents a “far more serious offense” than a § 793 violation because it is the “classic

spying” statute, which criminalizes the provision of defense information to a foreign

government with reason to believe that the information is to be used to harm the

United States or aid a foreign country. Morison, 844 F.2d at 1065. Section 793, on

the other hand – which forms the basis for Counts One through Three – criminalizes

acts of retention, disclosure and communication that do not involve foreign actors or

knowledge that the information will be used to harm the United States. The two

subsections charged in Counts One through Three are “sweeping, and make criminal

receipt of material knowing that it has been obtained in violation of other espionage

provisions . . . and retention of such information.” Edgar & Schmidt, 73 Colum. L.

Rev. at 938. One of the two subsections, § 793(e), requires “willful” conduct, while

the other, § 793(c), does not.

      The fourth Espionage Act charge in this case is a violation of § 798(a)(3), a

provision enacted in 1950 “dealing only with the publication of information


6     See https://catalog.archives.gov/id/5721240.

                                           -9-
concerning domestic codes and communications intelligence operations.” Edgar &

Schmidt, 73 Colum. L. Rev. at 942. Unlike § 793, this offense does not require a

finding that the information constitutes NDI. Rather, § 798 makes it a crime to

“willfully communicate[], furnish[], transmit[] or otherwise make available[]” certain

categories of “classified information.” On its face and according to the little precedent

that exists, the statute lacks any mechanism for a court or factfinder to look behind

the Executive Branch’s determination that information is “classified.” On its face,

therefore, § 798 imposes strict liability for communicating certain information the

Executive Branch classifies, even where the evidence demonstrates that disclosure of

the information poses no danger to national security (because it is wrongly classified)

and is greatly beneficial to public discourse.

      All of the Espionage Act provisions at issue here – subsections of §§ 793 and

798 – were crafted by Congress into their present language in 1950, in the same

legislation (in the case of § 793) or in closely related legislation (in the case of § 798)

as the provision of the Subversive Activities Control Act of 1950 invalidated by the

Supreme Court in Robel. 7 And the reason for invalidation in Robel is the same reason

advocated here – overbreadth resulting in the chilling of protected First Amendment

freedoms. As explained further in Argument Section I, infra, this ground of relief


7      See Edgar & Schmidt, 73 Colum. L. Rev. at 1064 n. 371 (§ 793 in its present
form enacted in Internal Security Act of 1950, and § 798 in closely-related
legislation around the same time); see also Internal Security Act of 1950, 64 Stat.
987 (available at https://www.loc.gov/law/help/statutes-at-large/81st-
congress/session-2/c81s2ch1024.pdf) (enacting the provision of the Subversive
Activities Control Act invalidated in Robel (p. 992) and the present § 793 (pp. 1003-
05)).

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turns not on whether the conduct charged in the case before the Court properly could

be proscribed under the First Amendment, but on whether the statute’s facial

overbreadth creates a chilling effect that requires its invalidation regardless.

                           HISTORICAL BACKGROUND

      Because the Alien and Sedition Acts of 1798 existed at a time when the

Supreme Court lacked jurisdiction over criminal cases – a power it gained only in

1891 8 – there was no relevant First Amendment jurisprudence to guide the Congress

of 1917. Indeed, there was extremely limited precedent from the Supreme Court on

the First Amendment until the twentieth century. 9 The 1917 and 1918 passage of

the Espionage Act and Sedition Act, respectively, changed that.

      The Sedition Act, which extended the Espionage Act during wartime to

“profane, scurrilous, or abusive language about the form of government . . . or the

Constitution . . . or the military or naval forces . . . or the flag of the United States,”

was enacted on May 16, 1918. 10 The Supreme Court upheld the constitutionality of




8      See Federal Judicial Center, Jurisdiction: Criminal, available at
https://www.fjc.gov/history/courts/jurisdiction-criminal (last visited Sep. 9, 2019).
9       See The Free Speech Center and the John Seigenthaler Chair of Excellence in
First Amendment Studies, First Amendment Timeline, available at
https://www.mtsu.edu/first-amendment/page/first-amendment-timeline (last visited
Sep. 9, 2019) (the Supreme Court heard no more than twelve First Amendment
cases in its first century, and heard its first freedom-of-the-press case in 1907, when
it declined to address whether the states were subject to the First Amendment
through the Fourteenth, and dismissed the question presented as “a matter of local
law,” see Patterson v. Colorado, 205 U.S. 454, 461-62 (1907)).
10    The text is available at http://www.legisworks.org/congress/65/publaw-
150.pdf (last visited Sep. 9, 2019).

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these censorship provisions in its famous cases Schenck v. United States, 249 U.S. 47,

52 (1919) (affirming a conviction for distribution of anti-draft pamphlets), and

Abrams v. United States, 250 U.S. 616 (1919) (affirming convictions for speaking out

against the government’s involvement in World War I). In Schenck, Justice Holmes

(writing for the Court) announced the “clear and present danger” standard, which as

modified by the “imminent lawless action” test in Brandenburg v. Ohio, 395 U.S. 444

(1969), continues to be the standard for considering legislative prohibitions on

activities otherwise protected by the First Amendment. In other words, Schenck is

largely confined to the specific context of World War I, and requires an examination

of the “proximity and degree” of evils Congress may legitimately prevent – Holmes

gave the example of “falsely shouting fire in a theatre” – in determining whether a

First Amendment restriction may withstand scrutiny. Schenck, 249 U.S. at 52.

      The Sedition Act of 1918 – it should go without saying – evinces a

Congressional understanding of the First Amendment that is drastically different

than it is understood today. Indeed, the Supreme Court in the last century has

rejected the reasoning of Schenck and Abrams to the extent it justified the

prosecution of political speech criticizing the government. See, e.g., Texas v. Johnson,

491 U.S. 397 (1989) (burning American flag in protest is protected speech); Snyder v.

Phelps, 562 U.S. 443, 452, 458 (2011) (speech of Westboro Baptist Church members

is protected because, no matter how “offensive or disagreeable,” “speech on public

issues occupies the highest rung of the hierarchy of First Amendment values, and is

entitled to special protection”) (internal quotations and citation omitted).



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      But the Court has had no further occasion to address the issues raised by

Schenck and Abrams because, in 1921, Congress let the Sedition Act of 1918 expire,

while the Espionage Act lived on. Since then, the Supreme Court has addressed the

Espionage Act only once when, in 1941, it upheld §§ 793(b) and 794(a) – two

provisions not at issue here – against a vagueness challenge. See Gorin v. United

States, 312 U.S. 19, 27-28 (1941) (finding the offenses sufficiently definite to comport

with due process because of “[t]he obvious delimiting words . . . requir[ing] those

prosecuted to have acted in bad faith.”). The “delimiting words” identified in Gorin –

requiring the defendant to have acted “with intent or reason to believe that the

information . . . is to be used to the injury of the United States” or to aid a foreign

nation – are entirely absent from the four Espionage Act provisions charged here.

      While the legislative history of the Espionage Act is not a model of clarity, it

firmly establishes that when Congress enacted the law in 1917, and when it amended

it in 1950, it had the consistent understanding that the Act would not and could not

apply to the type of conduct charged in this case. That is, Congress repeatedly

observed that the Act was intended to prohibit only spying, sabotage and like conduct,

and not any activity of the press or any actions taken to inform the public of perceived

government wrongdoing. 11 In the 1917 Senate debate, for example, when an early

version of § 793 was drafted without apparent regard for whether it could lead to such



11     See Edgar & Schmidt, 73 Colum. L. Rev. at 1077 (legislative history is
“unquestionable” in establishing that the espionage statutes were not intended to
“forbid acts of publication or conduct leading up to them, in the absence of
additional and rarely present bad motives”).

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prosecutions, the Senate was “bombarded with newspaper-inspired protests,

including a petition signed by a million citizens.” 12 The sponsors of the legislation

responded with assurances that the Act was not intended to reach such conduct, and

would never be so applied, with the Senator managing the bill assuring opponents

that nobody “innocent of any intent to aid the enemy” would be prosecuted. 13

      The debate surrounding the 1950 legislation, in which the current version of

§ 793 was enacted, contained much stronger assurances that the Act was intended to

criminalize only conduct undertaken with an intent to harm the United States.

Senator McCarran, the sponsor of the bill, responded to concerns that § 793 might

criminalize newsgathering by stating that “any suggestion of such a threat naturally

concerns me greatly,” and he therefore requested interpretations of the statutory

language from the Legislative Reference Service and the Attorney General. 14 The

opinion of the former was that § 793 did not apply to newsgathering in the absence of

“wrongful intent,” 15 while the Attorney General provided the Executive Branch’s

unequivocal assurance that the statute would never be applied in the absence of an

intent to harm the United States:

             The history and application of the existing espionage
             statutes . . . together with the integrity of the three
             branches of the Government which enact, enforce, and
             apply the law, would indicate that nobody other than a spy,

12    Id. at 1013.
13    Id. at 993 (summarizing floor statements of Senator Overman).
14    Id. at 1025 (citing and quoting the Congressional Record).
15    Id.

                                         -14-
             saboteur, or other person who would weaken the internal
             security of the Nation need have any fear of prosecution
             under either existing law or the provisions of this bill. 16

      These assurances appear to have dampened any concern that the Espionage

Act would be used to stymie activities of the press or acts taken to inform public

discourse on matters of national concern. Nonetheless, the American Newspaper

Association suggested a provision which, as included in the final introductory

language to the Internal Security Act of 1950, provided that “[n]othing in this Act

shall be construed to authorize, require, or establish military or civilian censorship

or in any way limit or infringe upon freedom of the press or of speech.” 17

      In sum, after comprehensively reviewing the legislative history, Professors

Edgar and Schmidt concluded that the Espionage Act was “unquestionably” intended

to exclude from prosecution acts intended to inform the public through the press. 18

But they also recognized that Congress’s actions were routinely inconsistent with its

stated intent, because the statutory provisions themselves “are so sweeping as to be

absurd,” resulting in ambiguities and overbreadth that “go well beyond tolerable

limits.” 19 Instead of narrowing the statutory language to achieve its stated intent,

Congress simply “said it was not so,” because “[i]t did not realize that [the] literal




16    Id. at 1026 (quoting Attorney General’s letter as entered into Congressional
Record).
17    Id. at 1026-27.
18    Id. at 1077.
19    Id. at 1031-32.

                                         -15-
terms [of the Act] might apply to speech leading to public debate, or preliminary

activities undertaken with that aim.” 20

      In the ensuing decades, these tensions between the legislators’ stated intent

and the language they adopted faded into irrelevancy because the Executive was true

to its word: For almost the entire 20th century, prosecutions under the Espionage

Act were limited to cases of spying and related conduct. In its first 75 years, there

were only three prosecutions under the Act premised on “leaking” to the media, the

most famous being the failed prosecution of Daniel Ellsberg and Anthony Russo in

connection with the Pentagon Papers. 21 In the last decade, however, the federal

government’s use of the Espionage Act has expanded dramatically. There have been

18 prosecutions of media sources since 2009. 22 And, for the first time ever, the

government has now charged a purported journalist, Julian Assange, for

disseminating information in alleged violation of the Act. 23 That will not, however,

be the first case to test whether a journalist’s publication of truthful information is a

crime: As already noted, Count One in the instant case appears to allege that Mr.



20    Id.
21     See Reporters Committee for Freedom of the Press, Federal Cases Involving
Unauthorized Disclosures to the News Media, 1778 to the Present, available at
https://www.rcfp.org/resources/leak-investigations-chart/ (last accessed Sep. 9,
2019).
22    Id.
23     E.D.Va. No. 1:18-cr-111 (CMH); see Charlie Savage, Assange Indicted Under
Espionage Act, Raising First Amendment Issues, New York Times (May 23, 2019)
(whether press may be prosecuted under the Espionage Act “has never been tested
in court” because “until now the government has never brought such charges.”)

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Hale obtained documents with knowledge that the reporter would possess or use

them in violation of the Act. At trial, this will require the Court to instruct a jury

that a journalist commits a crime by possessing or publishing truthful information.

                                    ARGUMENT

I.    Each of the Espionage Act Counts Should be Dismissed Because They are
      Facially Overbroad and Chill Protected First Amendment Rights

      A. The Overbreadth Doctrine Requires the Invalidation of Laws That Chill a
         Substantial Amount of First-Amendment-Protected Activity

      “In the First Amendment context . . . a law may be invalidated as overbroad if

a substantial number of its applications are unconstitutional, judged in relation to

the statute’s plainly legitimate sweep.” United States v. Stevens, 559 U.S. 460, 473

(2010) (internal quotations and citation omitted). This is an exception to the usual

rule of standing, which provides that “a person to whom a statute may

constitutionally be applied will not be heard to challenge the statute on the ground

that it may conceivably be applied unconstitutionally to others, in situations not

before the court.” Broadrick v. Oklahoma, 413 U.S. 601, 610 (1973) (internal citations

omitted). The reason for the exception in the First Amendment context is the chilling

effect of laws that ban constitutionally-protected speech. In that context, defendants

“are permitted to challenge a statute not because their own rights of free expression

are violated, but because of a judicial prediction or assumption that the statute’s very

existence may cause others not before the court to refrain from constitutionally

protected speech or expression.” Id. at 612.




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       Applying the overbreadth doctrine, the Supreme Court in Stevens struck a

federal statute banning certain depictions of animal cruelty as substantially

overbroad. 559 U.S. at 468. The defendant had been successfully prosecuted, and

sentenced to 37 months in prison, for selling “videos of pitbulls engaging in dogfights

and attacking other animals.” Id. at 466. Without deciding the constitutionality of

the statute as applied to dogfighting videos, the Court instead analyzed “how broadly

[the statute] is construed” to determine whether it was facially invalid. Id. at 473.

The Court found that the law on its face could be used to prosecute sellers of protected

speech, such as “hunting magazines and videos.” Id. at 482. In finding the statute

unconstitutional, the Court declined to rely on the Executive Branch’s assurance that

it would enforce the statute only in cases of “extreme” depictions of cruelty: “the First

Amendment protects against the Government; it does not leave us at the mercy of

noblesse oblige. We would not uphold an unconstitutional statute merely because the

Government promised to use it responsibly.” Id. at 480. Further, the Court declined

to construe the statute narrowly “to avoid serious constitutional doubts,” because the

facial reach of the statute was unambiguous: “[T]his Court may impose a limiting

construction on a statute only if it is readily susceptible to such a construction.” Id.

at 481 (internal quotations and citation omitted). Accordingly, the Court found the

statute “substantially overbroad, and therefore invalid under the First Amendment.”

Id. at 482. 24



24    In addition to the chilling effect, the other factors courts consider in
determining whether a statute is “substantially overbroad” within the meaning of
the overbreadth doctrine include “the number of valid applications, the historic or
                                          -18-
       The same year that Stevens was decided, the Court applied the same reasoning

to strike a campaign-finance statute in Citizens United v. Federal Election Com’n, 558

U.S. 310 (2010). The Citizens United Court started from the premise that political

speech receives the highest level of First Amendment protection, and that Congress

may prohibit such speech only with legislation that “furthers a compelling interest

and is narrowly tailored to achieve that interest.” 558 U.S. at 339-40 (citations and

quotations omitted). Moreover, as in Stevens, the Court declined the government’s

invitation to construe the statute narrowly to avoid overbreadth concerns. Id. at 328.

Because the statute could not be narrowed through a coherent reading that would

give meaning to the statutory language, the Court held that it “cannot resolve [the

constitutionality of the challenged statute] on a narrower ground without chilling

political speech that is central to the meaning and purpose of the First Amendment.”

Id. at 328-29. 25




likely frequency of conceivably impermissible applications, the nature of the activity
or conduct sought to be regulated, and the nature of the state interest in the
underlying regulation.” Gibson v. Mayor & City Council of City of Wilmington, 355
F.3d 215, 226 (3d Cir. 2004) (internal citations omitted). As already noted, the
overbreadth doctrine was applied in the national security context in United States
v. Robel, 389 U.S. at 264.
25     See also United States v. Malloy, 568 F.3d 166, 174 (4th Cir. 2009) (“according
to our First Amendment overbreadth doctrine, a statute is facially invalid if it
prohibits a substantial amount of protected speech . . . . The government interest in
prohibiting criminal conduct must be weighed against the danger of chilling
constitutionally protected speech.”)




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      B. The Charges Here Lack Any Limiting Principle That Would Narrow Their
         Application to Disclosures Which Risk Sufficient Harm to Justify the
         Criminalization or Chilling of Core First Amendment Freedoms

      The three provisions of the Espionage Act charged in this case should be

stricken under the overbreadth doctrine because they criminalize a vast array of

protected activity at the core of the First Amendment. None of the charges, on their

face, requires any evidence of harm or potential harm to national security. 26 That

said, the first three counts require that the offense involve NDI, which is (by judicial

interpretation) defined to require that the information be “potentially damaging” to

national security. 27 But that limitation is almost meaningless from the standpoint of

establishing a compelling government interest because it is not quantified either in

terms of the gravity or the likelihood of any potential harm. Whether one looks to

the statutory language or to judicial glosses on the statute, no answer emerges to

these questions: How likely does the harm to national security need to be in order to

criminalize publication of information by the press? How proximate need it be?


26     Section 793(e), charged in Counts Two and Three, requires “reason to believe”
that the information “could be used” to harm the United States or aid a foreign
country, but that applies only to violations premised on “information.” Where, as
here, the alleged NDI constitutes “documents,” the § 793 “reason to believe” element
does not apply. See United States v. Kiriakou, 898 F.Supp.2d 921, 923 (E.D.Va.
2012). Counts Two and Three in this case thus do not allege the “reason to believe”
element. See Superseding Indictment (dkt 12), Counts Two and Three.
27    The statutory definition of NDI is so broad on its face as to be absurd: it
includes any photograph or map “connected with the national defense.” This could
include things like a map that a military base publishes for visitors or a photo of
tanks on display at a military parade. Accordingly, it has been narrowed by
precedent to require that the information be “potentially damaging to the United
States,” and “closely held,” Morison, 844 F.2d at 1071-72, though it need not be
designated “classified.”

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Assuming the harm is sufficiently likely and proximate, what quantum of harm is

necessary?   Is a risk of de minimis harm enough?           Is severe harm required?

Something in between?

      The statutes charged in Counts One through Three – §§ 793(c) and (e) – do not

answer these questions. As noted, the only mention of a government interest is the

judicial gloss on the term “NDI” (requiring the information disclosed to be “potentially

damaging”). But that term, even as judicially defined, has no limiting principle in

terms of either likelihood or substantiality of any potential damage. Consider, for

example, a person who drives with the tire pressure in his or her car slightly lower

than recommended. This is “potentially damaging” to the tires – maybe they will

need replacement a bit sooner than they otherwise would – but the chance of any

substantial damage is low and any damage that does occur is vanishingly small. In

the First Amendment context presented here, where a substantial amount of conduct

facially covered by the Espionage Act touches on core First Amendment activity of

vital national concern, it is not enough to premise criminality on a (possibly quite low)

“potential” for (possibly quite minimal) “damage.” But that is all that Counts One

through Three – even as judicially modified – require.

      Accordingly, the only trial evidence required to establish a violation on Counts

One through Three is the Executive Branch’s ipse dixit regarding the general

potential for some undefined amount of harm. Such a showing would likely be

insufficient to criminalize publication by the press even in the case of ordinary

information of no particular import. But “leak” cases, by their nature, do not involve



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ordinary information. Typically they involve matters on which the Executive Branch

is accused of lying to the public, where the other side of the story can be told only by

sharing information the Executive is seeking to obscure. In other words, they demand

the greatest degree of First Amendment protection. Accordingly, criminalizing them

requires the government to show a far greater and more proximate danger to national

security than §§ 793(c) and (e) require.

       The fourth Espionage Act charge (a violation of § 798, alleged in Count Four)

fares no better. Unlike the § 793 offenses, § 798 turns solely on classification – which

is a purely Executive Branch determination. See United States v. Boyce, 594 F.2d

1246, 1251 (9th Cir. 1979) (“Under section 798, the propriety of the classification is

irrelevant. The fact of classification of a document or documents is enough to satisfy

the classification element”); Fondren v. United States, 63 F.Supp.3d 601, 608

(E.D.V.A. 2014) (CMH) (same, citing Boyce); see also United States v. Smith, 750 F.2d

1215, 1217 (4th Cir. 1984) (“[T]he government . . . may determine what information

is classified.   A defendant cannot challenge this classification.     A court cannot

question it.”)

       But attaching criminal liability purely to an Executive Branch determination

that cannot be challenged is inconsistent with the First Amendment, which requires

a compelling government interest and narrow tailoring. And in the case of classified

information, there is little doubt that many items are either: i) improperly classified




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in the first instance, as Judge Ellis has observed; 28 or ii) classified by nothing more

than inertia, years after any potential harm from disclosure has passed. See, e.g.,

Peter Finn, National Archives Needs to Declassify a Backlog of Nearly 400 Million

Pages, Wash. Post (Dec. 3, 2011). Accordingly, Section 798 turns entirely on the

government’s unchallenged say-so about potential harm, depriving a defendant of due

process. See United States v. Villareal Silva, 931 F.3d 330, 335 (4th Cir. 2019) (when

an Executive Branch determination is “an element in a criminal prosecution, the

defendant in that prosecution must, as a matter of due process, be able to challenge

the element . . . if he did not have a prior opportunity to do so.”) (citing United States

v. Mendoza-Lopez, 481 U.S. 828, 837-39 (1987)). 29

      By criminalizing so much conduct – including a substantial amount of First-

Amendment-protected conduct – while requiring so little proof of a compelling

government interest, each of these statutes chills protected First Amendment

rights. 30 And, importantly, that chilling effect arises not solely from the potential

prosecution of journalists, but also from the prosecution of those whose actions are


28     See T.S. Ellis, III, National Security Trials: A Judge’s Perspective, 99 Va. L.
Rev. 1607, 1618 (2013) (“On the basis of my exposure to classified information over
a number of years . . . I have a firm suspicion that the executive branch over-
classifies a great deal of material that does not warrant classification.”).
29     The Executive Order governing classification allows a person to challenge a
classification determination, but solely within the Executive Branch. See Executive
Order 13526 (Dec. 29, 2009) § 1.8.
30     In addition to the freedoms of speech and press, the Act’s overbreadth chills a
third First Amendment freedom as well – the right to petition the government.
People simply cannot petition the government to redress grievances that a law
prevents them from learning about.

                                          -23-
necessary predicates for the journalists’ work. Even if it is assumed that one who

leaks information in breach of a duty to the government is entitled to less free-speech

protection than an ordinary citizen, that does not remove the chilling effect on press

freedom occasioned by prosecuting him or her.              That is because criminalizing

communication to a journalist substantially burdens a free press in much the same

way as criminalizing publication by a journalist. It substantially infringes on some

of the media’s most important work: uncovering information that the government

seeks to keep to itself, sometimes for duplicitous reasons. See Morison, 844 F.2d at

1081 (“There exists the tendency, even in a constitutional democracy, for government

to withhold reports of disquieting developments and to manage news in a fashion

most favorable to itself.”) (Wilkinson, J., concurring).

      In sum, the offenses charged in this case are not narrowly tailored to address

a compelling government interest.       Moreover, the statutory terms are devoid of

language or legislative history that could support a coherent, narrower reading that

would comply with the First Amendment. 31 And, in light of recent developments in

the government’s use of the Act – which make prosecutions burdening core First

Amendment freedoms reasonably likely where they used to be far-fetched – the

overbreadth doctrine applies. Such prosecutions (outside the “classic spying” context


31     From a legislative perspective, a statutory re-write would not be particularly
difficult. For example, the offenses charged here could be amended to require a
bad-faith motive by requiring knowledge or intent that the information is to be used
to harm the United States. And a provision could be added requiring the
government, in the case of prosecuting a member of the press or one whose conduct
is limited to sharing information with the press, to show a substantial risk of
proximate and substantial harm. But re-writing the statute is for Congress.

                                          -24-
of § 794) now comprise “a substantial number of applications” of Espionage Act cases

in relation to the “legitimate sweep” of the provisions charged here. 32

II.   Each of the Espionage Act Counts Should be Dismissed Because Key Terms in
      the Act are Void for Vagueness Under the Due Process Clause

      “It is a basic principle of due process that an enactment is void for vagueness

if its prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104,

108 (1972). The Court has recognized three rationales for invalidating vague criminal

laws: i) to provide clear notice of “what is prohibited,” so that “a person of ordinary

intelligence [will have] a reasonable opportunity to know what is prohibited, [and] . .

. act accordingly;” ii) to prevent “arbitrary and discriminatory enforcement,” because

vague laws fail to “provide explicit standards for those who apply them;” and iii) to

prevent the chilling of First Amendment rights where a statute “abut(s) upon

sensitive areas of basic First Amendment freedoms.”           Id. at 108-09 (internal

quotations and citations omitted).       When vagueness raises First Amendment


32     The Fourth Circuit in Morison rejected a First Amendment overbreadth
claim. 844 F.2d at 1075-75. It did so, however, more than 30 years ago, when the
prosecution of leakers whose motive was to inform the public was essentially
unheard of. It is not controlling on that point because overbreadth analysis
requires consideration of facts that have changed since then: “the historic or likely
frequency of conceivably impermissible applications.” See 16A Am. Jur. 2d Const.
Law § 427 (citing cases). At the time Morison was decided, the only true leak case
that had ever been prosecuted (involving the Pentagon Papers leakers) had not
resulted in a conviction. The only “leak” case before that, in 1957 against John
Nickerson, involved a defendant angry over a decision that negatively affected his
business as a defense contractor. See Sam Lebovic, The Forgotten 1957 Trial that
Explains our Country’s Bizarre Whistleblower Laws (Politico, March 27, 2016). And
Morison itself alleged sharing of information for personal financial motivations. As
a result, any observations the Fourth Circuit made in 1988 about the risk that the
Espionage Act would chill protected First Amendment activity have no bearing
today, in light of the more recent historical record.

                                          -25-
concerns, “[t]he vagueness doctrine has special bite,” 33 because the chilling effect may

require invalidation under the First Amendment overbreadth doctrine. 34

      Here, each of the Espionage Act provisions charged in the Indictment raises

all three vagueness concerns, due to the ambiguous breadth of the same statutory

terms discussed above. First, the failure of the statutes to require any particular

quantum and/or likelihood of harm to national security sufficient to justify a First

Amendment prohibition leaves a “person of ordinary intelligence” to guess whether

publishing a certain news article, or having a certain conversation, violates the

statute. To give one example, could a reporter, or a “leaker,” really be imprisoned for

discussing a not-yet-unclassified assessment of an entity that has not existed for

decades, like the Viet Cong? The statutes, even to the extent they have been judicially

narrowed, suggest they could be, while First Amendment jurisprudence suggests they

could not. This lack of notice cannot be corrected with a limiting construction because




33    Geoffrey R. Stone, et al., The First Amendment 122 (2d ed. 2003).
34     In the last four years, the Supreme Court has applied the vagueness doctrine
to invalidate at least three federal criminal statutes. See Johnson v. United States,
135 S.Ct. 2551, 2561 (2015) (striking as vague part of “violent felony” definition
because standard for determining “serious potential risk” is “uncertain both in nature
and degree of effect”); Sessions v. Dimaya, 138 S.Ct. 1204, 1215 (2018) (striking as
vague the “crime of violence” category defined by “substantial risk,” due to
“uncertainty about the level of risk that makes a crime ‘violent’”)); United States v.
Davis, 139 S.Ct. 2319 (2019) (striking as vague “substantial risk” prong of 18 U.S.C.
§ 924(c)(3)(B)); see also Manning v. Caldwell, 930 F.3d 264 (4th Cir. 2019) (en banc)
(striking regulation on “habitual drunkards” as unconstitutionally vague).

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the statutes provide no guidance; a court would simply be guessing to adopt a

construction consistent with Congressional intent and the language of the statute. 35

      Second, the vagueness of these same statutory terms runs a real risk of

arbitrary and discriminatory enforcement, and therefore viewpoint discrimination.

Leak prosecutions, while increasingly common, are still rare in comparison to the

frequency of classified-information leaks, which a cross-agency panel of the United

States government has described as a “routine daily occurrence.” 36 Indeed, a publicly

available CIA report observes that, “[t]he US press is an open vault of classified

information.” 37 Moreover, a substantial number of those leaks have at least the tacit

approval of the government because they come from high-ranking officials seeking to

present a positive narrative about government policy. 38 Yet leak prosecutions are




35     The Morison court found the willfulness element of §§ 793(d) and (e)
sufficient to cure any notice problem occasioned by the statutory definition of NDI.
844 F.2d at 1071-72. Morison did not involve, however, a vagueness challenge
based on the quantum or likelihood of harm necessary to support a prosecution. In
any event, one of the charges at issue (§ 793(c), charged in Count One), lacks a
willfulness element.
36     See Report of the Interdepartmental Group on Unauthorized Disclosures of
Classified Information (Mar. 31, 1982) at 6 (available at
https://fas.org/sgp/library/willard.pdf) (last accessed Sep. 11, 2019).
37     See James B. Bruce, Laws and Leaks of Classified Intelligence: The
Consequences of Permissive Neglect at 1, available at
https://www.cia.gov/library/center-for-the-study-of-intelligence/kent-
csi/vol47no1/pdf/v47i1a04p.pdf (last accessed Sep. 11, 2019).
38     See David E. Pozen, The Leaky Leviathan: Why the Government Condemns
and Condones Unlawful Disclosures of Information, 127 Harv. L. Rev. 512, 529-30
& nn. 80-85 (2013) (“Journalists and government insiders have consistently attested
that leaking is far more common among those in leadership positions.”).

                                         -27-
instituted, almost exclusively, against those who identify as dissenters, i.e., those who

release information to contradict an official narrative they believe to be untrue. 39 And

because the statutes provide no “meaningful guidance regarding proscribed conduct,”

they “invite arbitrary enforcement” against defendants whose viewpoints are deemed

“undesirable,” much like the en banc Fourth Circuit found with respect to the phrase

“habitual drunkard:”

             Police officers, prosecutors, and even state circuit court
             judges likely will have differing perceptions regarding
             what frequency of drunkenness exceeds the necessary
             threshold for a person to be considered an “habitual
             drunkard.” The interpretation of the phrase therefore
             leaves open the widest conceivable inquiry about a person’s
             behavior and depends entirely upon the prohibition
             philosophy of the particular individual enforcing the
             scheme at that moment. Indeed, the absence of any
             standards or limiting language to assist in the
             interpretation of the term “habitual drunkard” supports
             Plaintiffs’ assertion that the law was designed to target
             persons, including the homeless, that state officials deem
             undesirable. 40

Because these statutes, like the Virginia statute at issue in Manning, lack any

meaningful limitations to proscribe their use as a means of discrimination – in this




39    There are exceptions, such as the defendant in Morison, whose motive
appears to have been economic. But for those leakers whose principal motivation
was to inform the public, it appears that only dissenters are prosecuted.
40   Manning, 930 F.3d at 275-76 (internal citation and quotations omitted)
(emphasis added).

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case viewpoint discrimination in violation of the First Amendment – they should be

voided for vagueness due to their capacity for arbitrary enforcement. 41

       Third, for the reasons discussed above in Argument Section I regarding First

Amendment overbreadth, the ambiguous scope of the statutes at issue here requires

their invalidation under vagueness doctrine due to their chilling effect on protected

First Amendment activities.

III.   The Theft-of-Government-Property Count, as Applied Here, Chills First
       Amendment Freedoms in the Same Manner as the Espionage Act Counts and
       Should Also be Dismissed

       Count Five, alleging theft of government property, should be dismissed both

on the statutory interpretation grounds raised in the defense’s separate,

contemporaneously-filed motion and because allowing the standard theft-of-

government-property statute to be used in classified-information cases raises all the

same First Amendment concerns discussed above in Argument Section I. To put it

simply, if prosecuting leak cases under the statutes that are specific to that context

impermissibly chills First Amendment rights – and it does – then prosecuting them

through a statute of general applicability does too.       See Jessica Lutkenhaus,

Prosecuting Leakers the Easy Way: 18 U.S.C. § 641 (Note), 114 Colum. L. Rev. 1167,

1208 (2014) (because Congress did not weigh “the need to protect secrecy with the


41     The appearance of discriminatory, viewpoint-based enforcement is
exacerbated by what have now become routine United States Government
statements that certain media entities, and sometimes the media itself, are “The
Enemy of the People.” See Stephanie Sugars, From Fake News to Enemy of the
People: An Anatomy of Trump’s Tweets (Committee to Protect Journalists, Jan. 30,
2019), available at https://cpj.org/blog/2019/01/trump-twitter-press-fake-news-
enemy-people.php (collecting examples).

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values of disclosure and free public discourse” in enacting § 641, that offense should

not apply to such conduct absent “clearer standards defining § 641’s application to

government property in a way that accounts for constitutional values.”). Even those

cases that have affirmed § 641’s application (on statutory construction grounds) to

government information acknowledge the inevitable clash between such use and the

First Amendment. 42 At bottom, using § 641 in such cases chills speech and press

freedoms without any finding relating to government interests, and without narrow

tailoring. Both are necessary predicates to justify a criminal prohibition of core First

Amendment activity.

                                   CONCLUSION

      The Espionage Act, when applied to those who leak to the press through the

provisions charged in this case, chills First Amendment freedoms that are essential

to a functioning democracy. For decades, the Executive Branch was faithful to the

Act’s original intent, charging only spies and saboteurs even though the Act’s nearly

limitless language permits so much more. But now that the Act is used regularly

against those who leak for no purpose other than informing their fellow citizens about

their own government, its chilling effect is fatal to its continued viability. Moreover,

its broad terms allow viewpoint-based prosecutions of the press and those whose

actions are necessary for the press to freely operate. Accordingly, the provisions

charged here should be voided as facially overbroad, the § 641 charge should be voided

as applied, and the Indictment should be dismissed.


42    See Defendant’s Motion to Dismiss Count Five at 4-5.

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       Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

    I hereby certify that on September 16, 2019, I filed the foregoing via the
CM/ECF system, which will electronically serve a copy upon all counsel of record.




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